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MONTANA SECOND JUDICIAL DISTRICT COURT

SILVER BOW COUNTY

 

 

/ROB CARLSON, ) (yf-05- $5-BU-S€ +
)
Plaintiff, ) , _
) Cause No. | We 05-07!
Vv. )
J )
FEDEX GROUND PACKAGE SYSTEM, ) COMPLAINT AND
INC., and FEDEX GROUND PACKAGE ) DEMAND FOR JURY TRIAL
SYSTEM, INC., d/b/a FEDEX HOME )
DELIVERY, )
)
Defendants. )
)
I. INTRODUCTION
l. This is an action brought by a current delivery driver of Fedex Ground

Package System, Inc. or Fedex Home Delivery (collectively Defendants or Fedex

Ground) for Defendants unlawful misclassification of drivers as independent contractors

1. COMPLAINT AND DEMAND FOR JURY

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instead of employees. The above-named Plaintiff brings this action as a delivery driver
for Fedex Ground in the state of Montana for Defendants’ statutory and common law
violations that stem from this misclassification.

II. PARTIES

2. Plaintiff Rob Carlson is an adult resident of Butte, Montana. Plaintiff Rob
Carlson has worked as a Fedex Ground driver since 1992.

3. Defendant Fedex Group Package System, Inc., together with its division
Fedex Ground Package System, Inc., d/b/a Fedex Home Delivery, is a Delaware
corporation with its principle place of business in Pittsburgh, Pennsylvania. At all time
relevant, Fedex Ground, an affiliate of Fedex Corporation, engaged in transportation and
delivery services in Montana.

Ill. JURISDICTION AND VENUE

4, This Court has personal jurisdiction over Defendants herein in that each
entity, individually or through employee(s), representative(s) and/or agent(s) of the
named entities, conducted business within this State and/or committed acts which
resulted in the accrual of a tort action within this State.

5. Venue is proper in this Court because Defendants have violated the laws of
the state of Montana within Montana, have obligated themselves to the Plaintiff within
Montana, and have specifically chosen to maintain a corporate presence within and

substantial contacts with the state of Montana.

2. COMPLAINT AND DEMAND FOR JURY

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IV. STATEMENT OF FACTS

6. Fedex Ground, as an affiliate of Fedex Corporation, employs over 30
drivers in Montana to pick up and deliver packages to customers of the Defendants.

7, As a condition of employment, the Defendants require every driver to sign
a Pickup & Delivery Standard Contractor Operating Agreement, together with several
Addendums, collectively referred to as the “Agreement.” The Agreement is a form
contract establishing the terms and conditions of employment of Fedex Ground Drivers.

8. At all material time, Plaintiff was individually a party to the Agreement
with Fedex Ground described above in the preceding paragraph.

9. Plaintiff was not able to negotiate for different terms and conditions from
those appearing in the form agreement provided by the Defendant. For example, the
Defendants unilaterally set the compensation to be paid the drivers and unilaterally adjust
the amount of compensation.

10. Although the Agreement labels the drivers as independent contractors, the
behavioral and financial control manifested over the drivers by the Defendants
demonstrates that the drivers are employees rather than independent contractors. Such
control includes, but is not limited to, the following matters:

a) Defendants employ supervisors and managers who have supervisory

responsibility over the drivers and assign and direct their work. The
supervisors and managers’ pay is determined by the performance of the

drivers. These supervisors and managers work in the terminals where the

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drivers report to retrieve the packages that they deliver for the Defendants’
customers furtherance of the Defendants’ business operations.

b) The drivers are required to comply with the Defendants’ instructions in
terms of written and unwritten policies, procedures, and directives
appearing in the Agreement and unilaterally promulgated by the Defendants
from time to time regarding the completion of the drivers’ duties. Drivers
suffer financial penalties and/or disciplinary actions for failure to comply
with such policies, procedures, and directives.

c) Upon starting to work for the Defendants, the drivers receive training in the
Defendants’ policies and procedures, in the documentation the Defendants
require of drivers, and in the technology the Defendants mandate the
drivers to use in the performance of their work for the Defendants.

d) The drivers are required to purchase the vehicle they use in working for the
Defendants and to purchase the uniforms they wear in performing said
work. The drivers purchase the vehicles provided by Defendants and are
not allowed to sue any other vehicle. The Defendants also require that the
drivers adorn their vehicles and uniforms with the Defendants’ logo and
effectively prohibit the drivers from using their vehicles or uniforms for
other business while so adorned. The nature of the relationship between the
Defendants and the drivers prevents the drivers from using their privately

owned vehicles and uniforms to offer services to the general public.

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e) In addition to paying the drivers for each package picked upon and/or
delivered, the Agreement provides that the Defendants will pay the drivers
a set amount for each day that the driver provides services to the
Defendants as well as a premium for the drivers’ time when the drivers’
route contains a small amount of package deliveries. Such payments are
made to the drivers each week. Thus, their pay basis is not simply by the
job but by the time spent working.

f) Although the Agreement purports to give the drivers proprictary control
over their routes, the Defendants change the drivers’ routes from time to
time at Defendants’ leisure without the drivers’ permission and prohibit the
drivers from selling their routes or having other individuals perform in their
place without the express approval of the Defendants.

g) The Defendants exert a high degree of control over the drivers’ work. For
example, they have begun installing electronic devices in the drivers’
vehicles, enabling the Defendants to track the drivers’ whereabouts at all
times while working.

11. Although the Agreement labels the drivers as independent contractors, the
type of relationship between the Defendants and the drivers demonstrates that the drivers
are employees rather than independent contractors. Factors showing an employment
relationship include, but are not limited to, the following:

a) The work of the drivers in picking up and delivering packages for the

Defendants’ customers is completely integrated into the business of the

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6.

b)

d)

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Defendants such that the Defendants’ business depends significantly on the
performance of the services that the drivers perform.

Although the drivers are required to purchase or lease the vehicles they use
in working for the Defendants, and to purchase the uniforms they wear in
performing said work, the Defendants require that the drivers adorn their
vehicles and uniforms with the Defendants’ logo and effectively prohibit
the drivers from using their vehicles or uniforms for other business while so
adorned. Such requirement prevents the drivers from using their vehicles
and uniforms to offer services for other, similar businesses.

Although the Agreement purports to give the drivers proprietary control
over their routes, the Defendants exert a high degree of control over the
drivers’ ability to sell their routes or have other individuals perform in their
place. Such sales and substitutions require the express prior approval of the
Defendants, making the services of a type that must be rendered personally
by drivers who have effectively been hired by the Defendants.

The Defendants prevent the drivers from choosing when and how much
they care to work for the Defendants, instead requiring the drivers to work a
minimum number of hours and shifts and prohibiting the drivers from
refusing work, such as picking up certain packages.

Many drivers have continued their relationship as drivers for the

Defendants exclusively over many years.

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12. The Defendants, per the Agreement, require the drivers to pay the
Defendants’ operating expenses, including but not limited to:

a) Costs relating to the purchase and operation of vehicles to perform work for

the Defendants and to maintain and repair such vehicles.

b) Costs relating to the purchase of insurance, including vehicle insurance and
work accident insurance.

c) Costs relating to the purchase of uniforms adhering to the Defendants’
precise specifications.

d) The share of federal employment taxes for which employers are liable.

e) Other costs normally associated with the operation of a business and
included in the Defendants’ business support package, such as maps, logos
and signs, training, modems, and scanners.

13. By retaining behavioral and financial control over the drivers despite the
express language to the contrary in the Agreement, the Defendants have committed a
widespread and systemic breach of the terms of said Agreement.

14. By retaining behavioral and financial control over the drivers despite the
express language to the contrary in the Agreement, the Defendants have misrepresented
to the drivers that they are independent contractors (and thus entrepreneurs with the
ability to independently manage and grow their businesses), when in fact they are

employees (and thus entitled to a variety of legal benefits that inure from the employment

relationship).
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15. The Defendants do not contribute to workers’ compensation and
unemployment. insurance programs and do not allow drivers to apply or qualify for
workers’ compensation or unemployment benefits.

16. The fair value of the services performed by the drivers exceeds the amount
of pay received by the drivers for the work they perform, as compared to drivers
performing substantially the same work for other similar businesses and for Defendant
FedEx Corporation’s other affiliated companies.

17. In the case of Estrada et al. v. FedEx Ground, the Superior Court of
California for the County of Los Angeles has held that certain FedEx Ground drivers in
the State of California are employees and not independent contractors. Case No. BC
210130 (July 26, 2004).

18. In the matter of FedEx Ground Package System, Inc. and Local 177, Int'l
Bhd. of Teamsters, AFL-CIO, the Regional Director for Region 22 of the National Labor
Relations Board held that employees working under the Agreement in the Fairfield, New
Jersey, terminals are employees and not independent contractors.

19, Under the rules established by the Internal Revenue Service (IRS)
regarding classification of employees and independent contractors, FedEx Ground drivers
are employees. Defendants are in breach of a 1995 agreement reached between their
predecessor company, Roadway Package System, Inc. (RPS), and the IRS regarding this

classification issue.

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20. Despite their knowledge that they have improperly classified the drivers as
independent contractors instead of employees, the Defendants have willfully continued to
misclassify the drivers as independent contractors.

21. Attached as Exhibit A and incorporated into this Complaint is ruling from
the Department of Labor for the state of Montana in which the Department of Labor
conclusively ruled and determined that FedEx Ground drivers such as Plaintiff Rob
Carlson are in fact employees and not independent contractors.

COUNT 1
Declaratory Judgment

Under the relevant laws of the United States and of Montana, Defendants have
misclassified Plaintiff as an independent contractor rather than as an employee. Pursuant
to the Montana Department of Labor’s ruling, attached as Exhibit A, this Court should
issue a declaratory judgment establishing that the Plaintiff is an employee of Defendants
and that the Plaintiff is therefore entitled to all the rights and benefits of employment
pursuant to the laws of the United States and of Montana.

COUNT II
Violation of Montana Independent Contractor Law
By misclassifying Plaintiff as an independent contractor instead of an employee,

Defendants have violated Montana’s laws regarding independent contractors.

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COUNT III
Violation of Montana Wage law
By such conduct in forcing the Plaintiff to bear costs incident to the Defendants’
business operations, the Defendants also violated Montana Wages and Wage Protection
laws by unlawfully requiring Plaintiff to pay improper set-offs against his wages. This
claim is brought pursuant to MCA, §§ 39-3-201through 39-2-217 and MCA, §§ 39-3-401
through 39-3-410.
COUNT IV
Breach of Contract
Defendants have breached their written contracts with Plaintiff in which they
made express representations concerning the parties’ rights and duties which proved
untrue, to Plaintiff’s detriment, in violation of the common law of Montana. The contract
signed by Plaintiff is a contract of adhesion in that it was drafted solely by Defendants
and offered to Plaintiff on a take-it-or-leave-it basis.
COUNT V
Misrepresentation
Defendants have committed intentional and/or negligent misrepresentation in their
representations concerning the parties’ rights and duties, in particular in misrepresenting
to the drivers that they are independent contractors rather than employees, in violation of

the common law of Montana.

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COUNT VI
Un just Enrichment
As a result of Defendants’ conduct in misclassifying Plaintiff as an independent
contractor, the Defendants have forced Plaintiff to bear the normal costs and incidents of
the Defendants’ business and have thus unjustly enriched themselves to the detriment of
Plaintiff in violation of the common law of Montana.
COUNT VII
Conversion
By such conduct in forcing the Plaintiff to bear costs incident to the Defendants’
business operations, the Defendants also converted the property of the Plaintiff to the
Defendants’ own use in violation of the common law of Montana.
COUNT VIII
Promissory Estoppel
As a result of the misrepresentation of Defendants that Plaintiff would be an
independent contractor, the Plaintiff was estopped from and forewent other employment
and business opportunities in reliance on the promise of entrepreneurship inherent in the
independent contractor relationship offered by Defendants and, as such, Defendants have
violated the common law of Montana.
COUNT IX
Quantum Meruit
Plaintiff has been deprived by the Defendants of the fair value of his services and

is thus entitled to recovery in guantum meruit pursuant to the common law of Montana.

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COUNT X
Injunctive Relief

As the Defendants have at all times continued to misclassify Plaintiff as an
independent contractor despite retaining control over him as an employee, the Plaintiff
seeks permanent injunctive relief enjoining Defendants from practicing the unlawful
practices alleged herein.

COUNT XI
Fraud or Deceit

Defendants committed fraud and/or deceit upon Plaintiff by inducing Plaintiff
through representations that Plaintiff would be an independent contractor to enter into the
Agreement.

Plaintiff detrimentally relied on Defendants’ representations that Plaintiff would in
fact be an independent contractor.

As a result of the fraud and/or deceit committed by Defendants, Plaintiff suffered
substantial damages.

COUNT XII
Intentional and/or Negligent Misrepresentation

Plaintiff was hired by FedEx Ground to work as an independent contractor
pursuant to the terms of the Agreement. In fact, FedEx Ground was aware, or should
have been aware, at all time that the independent contractor status was improper and that,
in fact, Plaintiff was an employee entitled to all of the benefits and protections of the law

as an employee. Plaintiff was informed and believed that FedEx Ground intentionally

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misled Plaintiff as to his employment status or made such representations to Plaintiff
recklessly and/or negligently for the purpose of realizing unjust profits from Plaintiff's
work.

At all material times, FedEx either knew or should have known that the
representations made to Plaintiff concerning his employment status and Plaintiff's
corresponding obligation to assume responsibility for all of his own employment related
expenses were false, fraudulent, and/or deceitful.

At all material time, Plaintiff justifiably relied to his detriment on the false,
fraudulent, and/or deceitful representations made to him by FedEx Ground concerning his
employment status and obligation to assume responsibility for all of his own employment
related expenses and suffered damage as a direct and proximate result.

By its aforesaid conduct, FedEx Ground is guilty of oppression, fraud, deceit, and

malice in violating Plaintiff's rights and protections guaranteed by the law.

JURY DEMAND

Plaintiff requests a trial by jury on his claims.

WHEREFORE, Plaintiff requests that this Court enter the following relief:
1. A declaratory judgment that Plaintiff’s and other similarly situated persons

are employees and not independent contractors of FedEx Ground.

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2. Disgorgement of profits unjustly retained by Defendants as a result of their
unlawful practice of misclassifying Plaintiff and other similarly situated persons as
independent contractors,

3. All damages to which Plaintiff may be entitled.

4, Any other relief to which Plaintiff may be entitled.

RESPECTFULLY SUBMITTED this 26th day of October, 2005.

POORE, ROTH & ROBINSON, P.C.

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By__ Za. Prax. »

Tina L. Morin

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MONTANA SECOND JUDICIAL DISTRICT COURT

 

SILVER BOW COUNTY
ROB CARLSON, )
) . Cec. va
Plaintiff, ) CU -05 ° §S-BU-S C+
) Cause No, DV-05-27]
Vv. )
) Hon. Kurt Krueger
FEDEX GROUND PACKAGE SYSTEM, INC., )
and FEDEX GROUND PACKAGE SYSTEM, ) SUMMONS
INC., d/b/a FEDEX HOME DELIVERY, )
)
Defendants. )
)
)

 

THE STATE OF MONTANA SENDS GREETINGS TO THE ABOVE-NAMED
DEFENDANTS

You are hereby summoned to answer the Complaint in this action, which is filed in the office of
the Clerk of this Court, a copy of which is herewith served upon you, and to file your answer and
serve a copy thereof upon the Plaintiff's attorney within twenty (20) days after the service of this
Summons, exclusive of the day of service; and in case of your failure to appear or answer,
judgment will be taken against you by default for the relief demanded in this Complaint.

,
WITNESS my hand and the seal of said Court this( S day of November, 2005.

-

Lori Maloney,
| Clerk of District Court

 

By

 

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